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September 8, 2017



Report RE:        Goode v. City of Southaven, et al
                  Case No.: 2:16-cv-02029-SHM-cgc


                                                  Introduction
          This is a supplemental report being submitted after the review of additional infonnation

provided. My opinions expressed in my Rule 26 report dated February 28,2017 have not changed.

This report is submitted to supplement my opinions based the review of additional materials

provided to me. These opinions and related opinions are set forth in this expert supplemental

report.



                                      Additional Materials Reviewed
          1 have reviewed extensive materials pertaining to the above referenced case. This list
includes materials since my February 28, 2017 report, but is not limited to:


                                      Materials Currently Reviewed
          This includes, but is not limited to:

                  I. Plaintiffs Expert Disclosures dated August 4, 2017 including the following:
                          a. Supplemental Report of Mark K. Fowler, J.D., M.D.
                          b. Amended Report ofParin Parikh, M.D.
                          c. Report of Michael Arnall, M.D.



                                          Overview of Opinions
               (all opinions within this report are to a reasonable degree of medical or
                                  scientific certainty and probability)
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       An overview of my opinions is as follows with more description of each below:

    1. Not having monitoring equipment attached to Mr. Goode at the time the chemical
       sedation was given is not a deviation from the standard of care.

    2. I disagree with Dr. Fowler when he opines that Mr. Goode "should have had one-on-
       one continuous observation by a trained medical person the purpose of which is to
       watch for changes in status such as cardiovascular difficulties."

    3. "Failure to monitor his heart and breathing, " as opined by Dr. Fowler did not affect
       the ultimate outcome of Mr. Goode.

    4. Dr. Parikh's amended report refers to and reviews some of the medical literature on
       the topic of restraint physiology, but his interpretation of the data and results are
       incomplete or not applicable to the specifics of this case.

   S. I disagree with a number of Dr. Parikh's comments about Excited Delirium Syndrome.

    6. I disagree with Dr. Arnall when he opines that the "hogtie in a prone position for an
       extended period of time was a substantial contributing cause to the death of Mr.
       Goode."

    7. I disagree with Dr. Arnall when he opined that the effects of LSD were substantially
       benefiting Mr. Goode's physiology.

   8. The clinical presentation of the cardiac arrest of Mr. Goode is not consistent with the
      mechanism opined by Dr. Arnall.

   9. I disagree with Dr. Arnall where he reports that Mr. Goode "experienced both causes
      of acidosis," referring to both metabolic and respiratory.



                             Detailed discussion and basis of opinions

   1. Not having monitoring equipment attached to Mr. Goode at the time the chemical
       sedation was given is not a deviation from the standard of care.


       In an ideal situation, monitor leads and oxygen saturation probes would be attached to a

struggling, combative individual prior to the administration of sedating medications. However, the

reality of prehospital and emergency medicine is that this ideal situation rarely exists. The moving

and struggling of a patient often dislodges the wires. Sweating skin and movement also make

maintaining placement difficult. And finally, even when leads can be applied and maintained, the


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struggling and movement created cause electrical artifacts that make the actual cardiac tracing

useless and distracting, repeatedly setting off alarms that are due to the artifact. Thus, it is common

practice in emergency departments as well as the prehospital environment for providers to initiate

sedating therapy and once the individual is moving less, then placing the monitoring equipment at

that time. By not having the monitoring equipment attached to Mr. Goode at the time that Haldol

and Ativan were administered was not a deviation from the standard of care.




   2. I disagree with Dr. Fowler when he opines that Mr. Goode "should have had one-on-one
      cOllfinuous observation by a trained medical person the purpose of which is to watch for
      changes in status such as cardiovascular difficulties. "


       In a busy emergency department setting, medications are often given to patients that could

have cardiovascular effects. There is no expectation that these individuals are constantly having

one-on-one continuous observation by a trained medical person, nor does the standard of care

require it. Dr. Oliver was under no duty to order continuous monitoring ofMr. Goode.

       For psychiatric patients at risk for harming themselves, most hospitals have protocols for

having a sitter remain with the patient. This is not a "trained medical person", but rather a person

who can observe the patient and make sure that he is not doing something to hann himself. In the

case of Mr. Goode, there was a police officer with him the entire time who functioned as his sitter.

       Even if a trained medical person were staying in the room with Mr. Goode, they could not

have prevented the sudden cardiac arrest, nor would the ultimate outcome have been any different.




   3. "Failure to monitor his heart and breathing, "as opined by Dr. Fowler did not affect the
      ultimate outcome of Mr. Goode.

       Dr. Fowler reports that "failure to monitor his heart and breathing was a serious breach of

the applicable standard of care." I disagree that this was a breach of the standard of care. As noted


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above, monitoring equipment is not often able to be used because of the aggressive movements of

patients. Mr. Goode was continuing to scream and yell and struggle. This clearly was demonstrating

that he was breathing, obviating the urgent need for additional breathing to be monitored. Similarly,

his ongoing struggle and movement limited the ability to check blood pressure and monitor his heart

rate.

         Even if these cardiovascular parameters were being monitored, Mr. Goode still would have

gone into cardiac arrest and required cardiac resuscitation. The ultimate outcome would not have

changed for Mr. Goode, even if the cardiac resuscitation started a minute or two earlier after Mr.

Goode went into cardiac arrest.



    4. Dr. Parikh's amended report refers to and reviews some of the medical literature on the
       topic of restraint physiology, but his interpretation of the data and results are incomplete
       or not applicable to the specifics of this case.

         Dr. Parikh's amended report includes a number of references that he did not use in his

original report. He reports certain findings from some of these studies that were either refuted by

more current research or are not applicable to this case. Some of the studies Dr. Parikh refers to

involve subjects with physiology that are much different from Mr. Goode and carmot be applied to

this case. For example, Dr. Parikh states in his report that the "Medicalliteratnre also reveals that

being maintained in the prone position diminishes cardiac filling by compromising flow in the

inferior vena cava (Dharmavaram, Ho, Savaser) and that being in the prone position compromises

stroke volume of the heart (the amount of blood that the heart squeezes forward) and compromised

cardiac output (Dharmavaram, Ho, Shimuzu)." The issue that I have with Dr. Parikh's interpretation

of the medical literature is that there are obvious errors in his assessment. For example, the

Savaser paper never looked at or measured flow in the inferior vena cava, so how could he use the

paper as a reference that it does? Both the Ho and Savaser studies also never looked at cardiac

filling, but Dr. Parikh represents that they did.


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        Ho's study only looked at the size of the inferior vena cava. Throughout his study, the

subject had nonnal blood pressures and nonnal heart rates. Cardiac filling and stroke volume and

cardiac output were never assessed in the Ho study as alluded to by Dr. Parikh. But it should also

be noted that the subjects never showed any physiologic changes consistent with compromised

cardiac filling as reported by Dr. Parikh. Similar findings were noted in the Savaser study and in

that study cardiac output was in fact measured and did not change with positions. It should also be

noted that both of these studies had up to 100 lbs. of weight on the backs of the subjects and the

physiologic parameters were not impacted. Mr. Goode had no weight on his back during his

restraint.



    5. I disagree with a number of Dr. Parikh's comments about Excited Delirium Syndrome.

        As a cardiologist, I do not understand how Dr. Parikh feels he is qualified to opine on

excited Delirium syndrome. This is not a disorder that is treated by cardiologists in the acute phase.

It is also not a condition treated by psychiatrists during the acute phase. It is a condition treated by

emergency physicians, which is why the American College of Emergency Physicians recognize

excited delirium syndrome as an actual diagnosis.

        Similarly, this is a condition seen by medical examiners when subjects die of this disorder.

Because of this, the National Association of Medical Examiners also recognizes excited delirium

syndrome as a true diagnosis. Dr. Parikh notes that excited delirium syndrome is not recognized in

the field of cardiovascular medicine, however I would disagree. I know plenty of cardiologists who

know of and recognize the syndrome. It would not be found in cardiovascular texts, because it is not

part ofthe typical cardiology conditions that are seen and treated by cardiologists.

        Additionally, Dr. Parikh states there is no known or scientifically proven pathophysiologic

basis for excited delirium syndrome. Just because the pathophysiologic pathway has not been yet

scientifically proven, does not mean it does not exist. Many, if not most, medical diagnoses when


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they were first discovered or identified did not have the pathophysiologic pathway determined until

a later date. Finally, reD codes are for billing, not diagnostic criteria, and really have no

applicability as part of the discussion of excited delirium syndrome.



   6. I disagree with Dr. Arnall when he opines that the "llOgtie in a prone position for an
      extended period of time was a substantial contributing cause to the death of Mr. Goode."

       As noted in my original rule 26 report, the prone maximal restraint position did not cause the

sudden cardiac arrest and death ofMr. Goode. Dr. Arnall opines that being in this position for an

extended period of time was substantial in contributing to the death. There are no scientific data to

support this, and more importantly if the position was such that it compromised ventilatory

function, then why did Mr. Goode not die much sooner than after the hour and a half that he was in

the restraint position. Additionally, ifMr. Goode's ventilatory function was so impacted, how come

he could continue to yell and "hyperventilate" as opined by Dr. Arnall later in his report.




    7. I disagree with Dr. Arnall when he opined that the effects of LSD were substantially
       benefiting Mr. Goode's physiology.

       It seems obvious that the LSD that Mr. Goode used is what got him into this critical medical

condition. His metabolic acidosis was caused by the use of this drug, and worsened by his continued

struggle against restraints stimulated by the drug. His continued agitation was also due to the effects

of LSD. So, I find it difficult to understand Dr. Arnall opining that the LSD was benefiting Mr.

Goode's physiology.




   8. The clinical presentation of the cardiac arrest of Mr. Goode is not consistent with the
      mechanism opined by Dr. ArnalL




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       Dr. Arnall, opined that the use of the sedating medications Haldol and Ativan caused a

decrease in ventilatory effort, which resulted in a rise in carbon dioxide, which caused a respiratory

acidosis, which coupled with the underlying metabolic acidosis by the LSD caused cardiac

irritability and thus led to a cardiac arrest. The problem with this opinion is that all of this would

take time to occur, and based on the testimony of those involved, the cessation of struggling activity

was followed quickly by the recognition of the cardiac arrest. The timing is not supportive of the

process of sedation, ventilatory suppression and then carbon dioxide rise. All ofthis takes time to

occur, and is not consistent with the clinical presentation in this case. Haldol and Ativan in

combination used across the United States hundreds ifnot thousands of times every day, both

intramuscularly and intravenously. The doses used in this case, as well as the route of

administration, were appropriate as well as the indication of an agitated and restrained patient.

Haldol and Ativan did not cause Mr. Goode's cardiac arrest or death.



    9. I disagree with Dr. Arnall where he reports that Mr. Goode "experienced both causes of
       acidosis," referring to both metabolic and respiratory.



       Dr. Arnall reports that, "Sodium bicarbonate is used to reverse the condition called acidosis.

Acidosis maybe due to metabolic causes such as vigorous exercise or respiratory causes such as

decreased or compromised respiratory efforts. Mr. Goode experienced both cause of acidosis. Mr.

Goode was clearly suffering from a metabolic acidosis due to his drug use as well as his agitated

and struggling behavior. There was no evidence that Mr. Goode was suffering from a respiratory

acidosis. For a respiratory acidosis to occur, Mr. Goode would have to have decreased ventilatory

effort to the point where his carbon dioxide levels in his blood would rise. The elevated carbon

dioxide in his blood would actually cause the acidosis. There were no objective measures, such as

end tidal C02 monitoring or an arterial blood gas, demonstrating that he had an elevated carbon

dioxide level. But more importantly, Mr. Goode was yelling and screaming which demonstrated

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strong air movement in and out of his lungs. This yelling and screaming moves air and out of the

lungs and blows carbon dioxide out of the body which will actually cause a respiratory alkalosis,

not acidosis. In order for one to retain carbon dioxide enough and develop a respiratory acidosis,

there has to be a significant limitation of ventilation. Clinically and objectively there was no

evidence of decreased or compromise respiratory efforts as noted by Dr. Arnall.

       Additionally, Dr. Arnall implies that sodium bicarbonate was used to treat this metabolic

and respiratory acidosis. In reviewing the records, it appears that the bicarbonate was used with Mr.

Goode after his cardiac arrest to treat the metabolic acidosis associated with his cardiac arrest, not a

respiratory acidosis.




       Under penalty of perjury, I hereby swear that the opinions stated above are true and correct

within a reasonable degree of medical probability.



Respectfully submitted,




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